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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK
 Association of Jewish Camp Operators,        )
                                              )
 Samuel Werzberger, MD, FAAP,                 ) Case No. 1:20-CV-0687 (GLS-DJS)
                                              )
 Ariela Orkaby, MD, MPH,                      )
                                              )
 Beth Statfeld,                               ) NOTICE OF APPEARANCE
                                              )
 Gail Zahtz,                                  )
                                              )
                Plaintiffs,                   )
                                              )
         v.                                   )
                                              )
 Andrew M. Cuomo, Governor of the             )
 State of New York, in his official capacity, )
                                              )
                Defendant.                    )

TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that the undersigned attorney hereby appears as counsel for

Plaintiffs Association of Jewish Camp Operators, Samuel Werzberger, Ariela Orkaby MD, MPH,

Beth Statfeld, and Gail Zahtz in the above-captioned action. I certify that I am admitted pro hac

vice in this action. All notices given or required to be given and all papers filed in this action

shall be served upon the undersigned.

Dated: July 2, 2020
       Atlanta, Georgia
                                      TROUTMAN PEPPER HAMILTON SANDERS LLP




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